                          Case 3:17-cv-01791-BAJ-EWD                                          Document 318                09/07/24 Page 1 of 1
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                MIDDLE                                                DISTRICT OF                                       LOUISIANA



                      PRISCILLA LEFEBURE
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                  BARRETT BOEKER, ET AL.
                                                                                                                       Case Number: 17-cv-01791-BAJ-EWD

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Hon. Brian A. Jackson                                              Jack Griffith Rutherford                                  J. Arthur Smith, III
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 9/16/2024 - 9/19/2024                                              Natalie Breaux                                            Elizabeth Breda
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

  P1                  9/16/2024           Yes                       P's Certified Medical Records - Woman's Hospital 12/8/16 SANE exam - LEFEBURE(PL)001-50

  P2                  9/16/2024           Yes                       Plaintiff's Certified Medical Records - Our Lady of the Lake - damages - LEFEBURE(PL)051-065

  P3                  9/16/2024           Yes                       Plaintiff texts w her grandmother Helena Graham day of SANE exam - LEFEBURE(PL)0118-0124

  P4                  9/16/2024           Yes                       Plaintiff texts w Helena Graham Jan-Mar 2017 re damages & impact - LEFEBURE(PL)0127-0132

  P5                  9/16/2024           Yes                       Plaintiff texts Jan 2017 re damages & impact of assaults - LEFEBURE(PL)0125-0126

  P6                  9/16/2024           Yes                       Plaintiff's notes and statement written near time of assaults - LEFEBURE(PL)0088-0097 & 100

  P7                  9/16/2024           Yes                       Plaintiff records from PTSD treatment - LEFEBURE(PL)0133-0139

  P8                  9/16/2024           Yes                       Plaintif Medical Bills from treatment with PCP - LEFEBURE(PL)0140-150

  P9                  9/16/2024           Yes                       Plaintiff's bills and financial aid documents - damages - LEFEBURE(PL)0151-0155

 P10                  9/16/2024           Yes                       Photographs of injuries from assaults/SANE exam - LEFEBURE0156-0176

 P11                  9/16/2024           Yes                       Interview of Plaintiff on 12/9/2016; produced by former Defendant Daniel on all parties, no bates #

 P12                  9/16/2024           Yes                       Transcript of Plaintiff 12/9/2016 interview produced as Exhibit P-6 to Plaintiff Depo

 P13                  9/16/2024           Yes                       Plaintiff texts to Dylan Pizzolato asking for help after assault on December 3, 2016 - LEF0083-86

 P14                  9/16/2024           Yes                       Dylan Pizzolato 3-page handwritten statement to WFPSO, Feb 2, 2017 - LEF0030-0032

 P15                  9/16/2024           Yes                       Dylan Pizzolato 1-page handwritten statement, undated - LEFEBURE(PL)0073

 P16                  9/16/2024           Yes                       Dec 20 2016 Incident Report WFPSO file#16-05747 - LEF008-015

 P17                  9/16/2024           Yes                       July 11 2017 Incident Report WFPSO file#16-05747 - LEF018-019




  J1                  9/16/2024           Yes                       Dec 8 2016 Sexual Assault Examination Form - Woman's Hosp - LEFEBURE(PL)0066-0072

  J2                  9/16/2024           Yes                       Dec 8 2016 Incident Report WFPSO file#16-05747 - LEF001-007

  J3                  9/16/2024           Yes                       July 10 2017 Incident Report WFPSO file#16-05747 - LEF016-017



* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of      1   Pages
